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                      IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF PUERTO RICO


                          IN RE:

              CARMELO CAEZ CRUZ                             CASE NO. 14-08561(MCF)

                         DEBTOR(S)                               CHAPTER 13


                   REPLY TO DEBTOR’S OBJECTION TO TREASURY’S POC NO.8

       TO THE HONORABLE COURT:

              COMES NOW, The Treasury Department of the Commonwealth of

       Puerto      Rico,       herein    “Treasury”,       through    the   Secretary      of

       Justice, by the undersigned counsel, and respectfully states and

       prays as follows:

              1.     This Honorable Court has jurisdiction under Title 28

       USC §1334, and venue under Title 28 USC §1408.

              2.     On February 9, 2015, Debtor filed the instant petition

       for relief under Chapter 13.

              3.     On October 17, 2014, Treasury filed proof of claim No.

       8, which included an unsecured priority debt of $23,833.84, and

       a general unsecured debt of $8,361.15, for a total tax liability

       of $32,194.99.            Please see Bankruptcy Claims Register, under

       claim no. 8.

              4.    On   September 23, 2015, Debtor filed               an objection to

       Treasury’s        POC    no.     8.     In    sum,    Debtor    objects    alleging

       “according to Department of Record offices there are no records

       that    indicate        that   debtor   owe   the    amounts    of   #32,194.46     of

       income tax.”        Please see Docket no. 51.
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             5.    On    October     22,    2015,       Treasury    filed     a   request       for

       extension of time to file reply to debtor’s objection to POC 8.

       Please see Docket no. 56.

             6. The thirty day period requested by the appearing counsel

       overlapped       with   the   period     I   was    out     of   office     on   vacation

       leave. Nonetheless, the appearing party very respectfully hereby

       submits its reply to Debtor’s objection to POC 8.

              7.        After a careful review of Debtors’ allegations and

       Treasury’s record, Treasury remains in its position.

             8. Treasury’s proof of claim no. 8 was filed according to

       our records. As of today, our records show that Debtors failed

       to   file    and    pay     the     Informative      Income      Tax   Returns      (400)

       regarding the 7% withholding for the payment of Professional

       Services    for     the   dba     “Car   Grua”,      XXX-XX-2682.          Thus,   POC     8

       included said (400) estimated debt.

             9. Thus, based on all of the above discussed, the Treasury

       Department remains in its position and requests the Honorable

       Court to deny Debtor’s objection to POC 8 at docket 51 and

       motion requesting entry of order at docket 62 and enter an Order

       for the payment and allowance of POC 8 as filed.

             WHEREFORE, the Treasury Department of the Commonwealth of

       Puerto Rico respectfully prays from this Honorable Court to deny

       Debtor’s objection to POC 8 at docket 51 and motion requesting




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       entry of order at docket 62 and enter an Order for the payment

       and allowance of POC 8 as filed.

                                   CERTIFICATE OF SERVICE

             I HEREBY CERTIFY, that on this date I filed this motion

       with the Clerk of the Bankruptcy court using the CM/ECF system,

       which will serve notice to all participants.

             RESPECTFULLY SUBMITTED.

             In San Juan, Puerto Rico, this 13 day of January, 2016.

       CESAR R. MIRANDA RODRÍGUEZ
       Secretary of Justice of the Commonwealth of Puerto Rico
       Designated

       MARTA ELISA GONZÁLEZ Y.
       Deputy Secretary of Justice
       In Charge of Litigation

       WANDYMAR BRGOS VARGAS
       U.S.D.C. No. 223502
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